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Telephone number: ('719) 583 -7000

 

Plaintiff: MARGARET SMITH ALBERT, as daughter and
lineal heir of JANET SMITH (now deceased)

VS.

Defendants: SSC PUBBLO BELMONT OPERATB\TG
COMPANY, L.L.C. d/b/a BELMONT LODGE HEALTH
CARE CEN'IER, a Delaware limited liability company * Court Use Only *

 

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COMPLAINT AND JURY DEMAND

 

 

COMES NOW, the Plaintift`, Margaret Srnith Albert, as daughter and lineal heir of Janet
Slnith (now deceased), by and through her counsel, Anderson, l-Iemrnat & Levine, L.L.C., and
for her Coinplaint against the Defendant, states and alleges as follows:

INTRODUCTORY ALLEGATIONS

l. Plaintiff is an individual Who is a resident and domiciliary of the City and Ccunty
of Pueblo, State of Colorado.

2. Defendant SSC Pueblo Belmont Operating Cornpany, L.L.C. d/b/a Belniont
Lodge Health Care Center (hereinafter referred to as Defendant Belmont) is, upon information
and belief, a for profit entity licensed to have care facility actively doing business in the City and
County of Pueblo, State of Colorado.

 

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3. On May 4, 2011, Janet Smith (hereinafter referred to as “Ms. Smith” Was
admitted to Belmont Lodge Health Care Center status post open reduction and internal fixation
of the ankle performed at Parkview Medical Center. Her initial pain score assessment Was 7/10.
Her admission orders included Percocet for pain; she Was noted to have a Foley catheter in place
from Parkview Medical Center.

4. Upon admission to Behnont Lodge l-Iealth Care Center, Ms. Srnith showed no
evidence of infection in light of the fact that her urine was assessed as being yellow and clear.

5. Upon admission to Belrnont Lodge Health Care Center, standard orders were
provided lt was noted that Ms. Smith was “no CPR..”

6. lt Was noted a Foley catheter Was not to be used, per the medical doctor’s notes.
The catheter care form Was not dated)’signed/tirned nor Were there catheter care details noted.
The Foley catheter was noted to still be in place on multiple nursing notes.

7. Upon admission to Belmont Lodge Health Care Center. Percocet was prescribed
according to certain closing requirements

8. Upon information and belief, Defendant increased l\/ls. Smith’s Percocet dosing.
The Percocet orders were not signed, and the Percocet orders Were also inconsistent Defendant
failed to follow the physicians Percocet orders as written

9. During the course of l\/ls. Smith’s stay at Belmont Lodge I-Iealth Care Center,
there Was a lack of documentation regarding Ms. Smith’s urine assessments and/or urine output
as Well as catheter care.

10. Additionally, there is no documentation indicating that Defendant performed any
fungal infection checks during Ms. Smith’s stay at Belrnont Lodge Heath Care Center.

ll. Defendant failed to follow physician orders for Nystatin that a doctor and/or
doctors was apparently prescribed to treat Ms. Srnith’s fungal infection

12. By the time Ms. Smith was transferred from Belmont Lodge Health Care Center
to Parkview Medical Center emergency room, Ms. Smith had redness in her buttocks and
coecyx. She Was also suffering from a significant urinary tract infection that Defendant failed to

recognize and/or treat.

13. Defendant failed to perform proper skin integrity maintenance throughout Ms.
Smith’s stay at Defendant’s facility.

14. On May 8, 2011, Ms. Srnith Was noted to be unresponsive and there Was emergent
transfer from the Belmont Lodge Health Care Center to Parkview Medical Center.

 

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15. Defendant Bchnont’s staff failed to adequately assess and protect their patient,
and failed to evaluate and appropriately treat Ms. Smith’s urinary tract infection

16. Defendant Belmont’s staff failed to recognize the consequences of advancing pain
medications for Ms. Smith while at Defendant’s facility.

17. Defendant’s lack of care and attention to Janet Srnith’s progressive urinary tract
infection, in conjunction with Defendant’s significant elevation in Ms. Smith’s narcotic
medication dosing, proximately caused Janet Smith’s death.

18. As a direct and proximate result of the death of Ms. Srnith, Plajntiff Margaret
Srnith Albert, as her daughter and lineal heir has suffered damages in an amount to be
determined at trial, including economic, non-economic damages, mental suffering, emotional
distress, pain, grief, and emotional distress

19. All damages in this Complaint are in the past, present and future whether so
specifically delineated in each paragraph or not.

F[RST CLA]M FOR RELIEF
(Wrongful Death)

20. Plaintiff incorporates herein all allegations contained in paragraphs l through 19
in the lntroductory Allegations.

21. Ms. Smith sought treatment from Defendant Belmont and came under care and
treatment of Defendant Belmont.

22. Defendant Belmont owed a duty to posses and exercise that degree of l<nowledge,
skill, care, caution, diligence, and foresight which would be possessed and exercised by fellow
medical personnel doing business in this community, in similar communities, or otherwise, and
owed to Ms. Smith the duty to act without negligence and to provide her proper care, treatrnent,
and supervision Without negligence

23. Defendant Belmont breached its obligations and duties with regard to the care and
treatment of Ms. Smith and was negligent in the care and treatment of Ms. Smith.

24. Defendant Belmont’s actions, representations and/or omissions departed from the
applicable standard of care, which caused the death of Ms. Smith, Whieh further caused all of the

Plaintiff’ s damages

25. As a direct and proximate result of the negligence of Defendant Belmont, Plaintiff
Margaret Smith Albert has suffered injuries, damages and losses, including, but not limited to,

 

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the death of her mother, mental anguish, mental distress, financial losses, economic damages all
in the past, present and future. '

26. As a direct and proximate result of Defendant Belmont’s negligence, said
Defendant is liable to Plaintiff l\/largaret Smith Albert for all of her injuries, damages and losses

27. All damages to Plaintiff l\/Iargaret Smith Albert are in the past, present and future
whether so specifically delineated in each paragraph or not.

WHEREFORE, Plaintiff Margaret Smith Albert prays for relief all is a more particularly
hereinafter set forth

WI~IEREFORE, on account of the matters set forth in the First Claim for Relief, Plaintiff
Margaret Smith Albert, as daughter and lineal heir of Janet Smith (now deceased), prays for a
judgment in favor of the Plaintiff, Margaret Smith Albert, and against the Defendant, SSC
Pueblo Belmont Operating Company, L.L.C. dfb/a Belmont Lodge Health Care Center, for
losses, damages, costs, expert witness fees, for attorney’s fees, interest on such sums as is
provided by law, prejudgment interest for monetary damages as are necessary to fully
compensate the Plaintiff for her injuries, damages and losses, including, but not limited to,
mental anguish, mental suffering, grief, counseling expenses, economic damages, and for such
other and timber relief consistent with the wrongful death statutes of the State of Colorado.

PLAINI`IFF DEMANDS A TRIAL TO A JURY OF SIX (6) PERSONS

DATEI:) this 12th day of Aprii, 2012.
ANnERsoN, rtsivrMA'r a LEviNE, L.L.c.

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s/ Chad P. Hemmaf, Esq.

 

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Ethan A. McQuinn, No. 36618
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